       Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 1 of 13




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONALD J. TRUMP, in his capacity as     )
a candidate for President of the United )
States,                                 )
                                        )
      Plaintiff                         )
                                        )
             v.                         )           CIVIL ACTION FILE NO.:
                                        )           1:20-cv-05310-MHC
BRIAN P. KEMP, in his official capacity )
as Governor of the State of Georgia;    )
BRAD RAFFENSPERGER, in his official )
capacity as Georgia Secretary of State, )
                                        )
                                        )
      Defendants.                       )


     AMENDED NOTICE OF DELIVERY OF SERVICE OF PROCESS

      Pursuant to Federal Rule of Civil Procedure Rule 4 et seq. and as otherwise

allowed by law, and pursuant to this Honorable Court’s Order of January 4, 2021,

this is notice that delivery of service of process occurred on January 4, 2021.

      Attached hereto collectively as Exhibit “A” are return receipts showing

delivery of the summons and Verified Complaint in the above captioned action on

the Defendants by special process server. Affidavits from the process server shall

be filed with the Court upon receipt. Notice via STATUTORY ELECTRONIC
       Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 2 of 13




SERVICE was also given to Defendants via online Hightail email on January 1,

2021. The receipt of that notice is attached hereto as Exhibit “B.”

      In an abundance of caution, the undersigned files this Notice to inform the

Court that service was diligently performed and the formality of filing the return is

forthcoming.

      Respectfully submitted, this 5th day of January, 2020.

                                             THE HILBERT LAW FIRM, LLC
                                             /s/ Kurt R. Hilbert (e-sig.)
                                             KURT R. HILBERT
                                             Ga Bar No. 352877
                                             205 Norcross Street
                                             Roswell, GA 30075
                                             T: (770) 551-9310
                                             F: (770) 551-9311
                                             E: khilbert@hilbertlaw.com

                                             Lead Counsel for President of the
                                             United States, as Candidate for
                                             President




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                    EXHIBIT A
                          Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 4 of 13


jhilbert@hilbertlaw.com

From:                           CourierNet@e-courier.com
Sent:                           Monday, January 4, 2021 10:33 PM
To:                             jhilbert@hilbertlaw.com
Subject:                        Delivery Notification




Delivery Notification
Our records indicate that the following order has been delivered:
Order was Placed by: TIM
Order Number: 741633
Pickup Address:
Hilbert Law Firm
205 Norcross Street
Roswell,GA, 30075
Delivery Address:
BRIAN KEMP OFFICE OF GOVERNOR
206 WASHINGTON ST
ATLANTA,GA, 30334
Authorization: SHAFER
Delivered On: 1/4/2021 3:32:25 PM
Signed By: Johanna Mejia

Amount: $61.19
You can track your shipment in more detail at any time from http://www.couriernet.net
Copyright 2001 e‐Courier Inc
This communication contains proprietary business information and may contain confidential information. If the reader of this message is not the intended recipient, or the employee or
agent responsible to deliver it to the intended recipient, you are hereby notified that any dissemination, distribution or copying of this communication is strictly prohibited.
Please note that this communication was automatically generated at the request of the Shipper and any attempt to reply to the communication cannot and will not be answered or received
by Shipper. Therefore, if you have any questions regarding this referenced shipment you must contact the Shipper directly. In addition, if you would like to discontinue this notification
service you must inform the Shipper directly.




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                          Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 5 of 13


jhilbert@hilbertlaw.com

From:                           CourierNet@e-courier.com
Sent:                           Monday, January 4, 2021 10:34 PM
To:                             jhilbert@hilbertlaw.com
Subject:                        Delivery Notification




Delivery Notification
Our records indicate that the following order has been delivered:
Order was Placed by: TIM
Order Number: 741636
Pickup Address:
Hilbert Law Firm
205 Norcross Street
Roswell,GA, 30075
Delivery Address:
BRAD RAFFENSPERGER SECRETARY OF STATE
214 STATE CAPITOL
ATLANTA,GA, 30334
Authorization: SHAFER
Delivered On: 1/4/2021 3:33:25 PM
Signed By: Xavier Jennings

Amount: $61.19
You can track your shipment in more detail at any time from http://www.couriernet.net
Copyright 2001 e‐Courier Inc
This communication contains proprietary business information and may contain confidential information. If the reader of this message is not the intended recipient, or the employee or
agent responsible to deliver it to the intended recipient, you are hereby notified that any dissemination, distribution or copying of this communication is strictly prohibited.
Please note that this communication was automatically generated at the request of the Shipper and any attempt to reply to the communication cannot and will not be answered or received
by Shipper. Therefore, if you have any questions regarding this referenced shipment you must contact the Shipper directly. In addition, if you would like to discontinue this notification
service you must inform the Shipper directly.




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                     EXHIBIT B
                    Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 7 of 13


jhilbert@hilbertlaw.com

From:                  Hightail <delivery@spaces.hightailmail.com>
Sent:                  Friday, January 1, 2021 12:54 PM
To:                    jhilbert@hilbertlaw.com
Subject:               File Delivered: STATUTORY ELECTRONIC SERVICE; NOTICE UNDER Fed.R.Civ.P.65;Lawsuit Submitted
                       Northern District of Georgia 12/31/2020




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                                                            10files
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                                                         83.4MBtotal
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                                                     Sharedon01/01/2021
                                    Yourfileshavebeendeliveredtothefollowingrecipients:

                        rgermany@sos.ga.gov,jhilbert@hilbertlaw.com,ddove@georgia.govand+2
                                                                    
                                                             "GentlemenͲ
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                                     IrepresentthePresidentoftheUnitedStatesofAmerica.
                                                                    
                 Pleasefindattachedpleadingsandfilingssubmittedforfilinglastevening12/31/2020withthe
               NorthernDistrictofGeorgia,AtlantaDivision.ThecaseisstyledDonaldJ.Trumpv.BrianKempetal.
               ThisisbeingservedonyouviaStatutoryElectronicServiceforpurposesofNoticeunderFed.R.Civ.
                  P.65etseq.,andasaprofessionalcourtesy.Acasenumberhasnotbeenyetassignedtomy
                               knowledge,norajudge.Ifoneisreceivedthisweekend,Iwilladvise.
                                                                    
               Shouldyouhaveanyquestions,feelfreetocallme.Ifyouhavedifficultydownloadinganyfilesalso
                                                            pleaseadvise.
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                 Mr.Germany,Iunderstandthatyouhadarecentbirthday,andIwantedtowishyouabelated
                               HappyBirthday.Mr.Dove,Ilookforwardtoworkingwithyouaswell.
                                                                    
                                                HappyNewYearaswellgentlemen!
                                                                    
                                                               Mybest,
                                                                    
                                                            KurtR.Hilbert
                                                                  1
                  Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 8 of 13

                                                     ManagingMember
                                                  TheHilbertLawFirm,LLC
                                                      T:(770)551Ͳ9310
                                                      F:(770)551Ͳ9311
                                                E:khilbert@hilbertlaw.com"
                                                                   


                          PD1VerifiedComplaintforEmergencyInjunctiveand
                          DeclaratoryRelief.pdf
                  PDF                                                                                  1.4MB
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                          PD10Plaintiff'sMemorandumofLawinSupportofMotionfor
                          ExpeditedDeclaratoryandInjunctiveRelief.pdf
                  PDF                                                                                501.9KB
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                          PD2CivilCoverSheet.pdf
                  PDF                                                                                785.7KB
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    Collectfeedback,routeapprovalsandgeteveryoneonthesamepage.Startafree14ͲdaytrialofHightailforbetter
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Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 9 of 13

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       Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 12 of 13




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DONALD J. TRUMP, in his capacity as     )
a candidate for President of the United )
States,                                 )
                                        )
      Plaintiff                         )
                                        )
             v.                         )            CIVIL ACTION FILE NO.:
                                        )            1:20-cv-05310-MHC
BRIAN P. KEMP, in his official capacity )
as Governor of the State of Georgia;    )
BRAD RAFFENSPERGER, in his official )
capacity as Georgia Secretary of State, )
                                        )
                                        )
      Defendants.                       )


                           CERTIFICATE OF SERVICE

I hereby certify that I have this day electronically filed the foregoing AMENDED

NOTICE OF DELIVERY OF SERVICE OF PROCESS with the Clerk of Court

using the CM/ECF system, which will send notification of such filing to counsel for

all parties of record via electronic notification.

      Respectfully submitted, this 5th day of January, 2020.

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Case 1:20-cv-05310-MHC Document 14 Filed 01/05/21 Page 13 of 13




                                   THE HILBERT LAW FIRM, LLC
                                   /s/ Kurt R. Hilbert (e-sig.)
                                   KURT R. HILBERT
                                   Ga Bar No. 352877
                                   205 Norcross Street
                                   Roswell, GA 30075
                                   T: (770) 551-9310
                                   F: (770) 551-9311
                                   E: khilbert@hilbertlaw.com

                                   Lead Counsel for President of the
                                   United States, as Candidate for
                                   President




                               4
